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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK


H. CRISTINA CHEN-OSTER; SHANNA                  No. 10 Civ. 6950 (AT) (RWL)
ORLICH; ALLISON GAMBA; and MARY
DE LUIS,

                     Plaintiffs,

                  -against-

GOLDMAN, SACHS & CO. and THE
GOLDMAN SACHS GROUP, INC.,

                     Defendants.


                NOTICE OF MOTION AND MOTION TO MODIFY SCHEDULE

            PLEASE TAKE NOTICE that upon the accompanying Memorandum of Law, and

pursuant to Federal Rule of Civil Procedure 16(b) and Civil Local Rule 16.2, Plaintiffs

respectfully request an Order modifying the scheduling Orders at ECF Nos. 565 and 568.



Dated: April 18, 2018                             Respectfully submitted,

                                                  By: /s/ Kelly M. Dermody

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